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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                 Criminal No. 11-cr-061-02-PB

Domingo Hernandez


                  ORDER OF DETENTION PENDING TRIAL

     In accordance with 18 U.S.C. § 3142(f), a hearing was conducted

on May 9, 2011, for the purpose of determining whether to detain the

defendant.   The court issued its detention order orally from the

bench.    This written order summarizes the court's findings and

rulings.


                              Legal Standards

     Section 3142(f) of the Bail Reform Act, 18 U.S.C. '' 3141-3156,

"does not authorize a detention hearing whenever the government

thinks detention would be desirable, but rather limits such hearings"

to the circumstances listed in 18 U.S.C. '' 3142(f)(1) and (f)(2).

United States v. Ploof, 851 F.2d 7, 10 (1st Cir. 1988).        In this case,

the government invokes ' 3142(f)(1)(c), asserting that a detention

hearing is warranted because the defendant is charged with drug

offenses that carry maximum sentences of ten or more years.
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     In this case, the defendant is charged by indictment with the

crime of conspiracy to possess with intent to distribute and to

unlawfully distribute at least 28 grams or more of cocaine base

"crack" in violation of 21 U.S.C. §§ 846; 841(a)(1); and

841(b)(1)(B)(iii).     That charge satisfies the parameters of '

3142(f)(1)(c), and, accordingly, the detention hearing was

appropriately requested.

     Pursuant to ' 3142(f), the court must determine whether any

condition or combination of conditions set forth in subsection (c)

will reasonably assure the appearance of the defendant ("risk of

flight") and the safety of any other person and the safety of the

community ("dangerousness") 18 U.S.C. ' 3142(f); United States v.

Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).           In making this

determination, the court must consider the following: (1) the nature

and circumstances of the offense charged; (2) the weight of the

evidence as to guilt; (3) the history and characteristics of the

accused, including family ties, past history, financial resources

and employment; and (4) the nature and seriousness of the danger to

any person or the community that would be posed by a release.              18

U.S.C. ' 3142(g).

     During the course of a hearing conducted pursuant to 18 U.S.C.

' 3142, the government has the burden of persuading the court that




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no condition or combination of conditions will reasonably assure (1)

the defendant's presence at trial, United States v. Perez-Franco,

839 F.2d 867, 870 (1st Cir. 1988); or (2) the safety of another or

the community.    Patriarca, 948 F.2d at 793.        For its part, the

government is required to prove risk of flight by a preponderance

of the evidence and to establish dangerousness by clear and

convincing evidence.     See id. at 792-93.

     In specific instances, delineated in 18 U.S.C. ' 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the safety

of the community.    Among the instances where a presumption arises

is the situation where

     the judicial officer finds that there is probable cause
     to believe that the person committed an offense for which
     a maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C.
     801 et seq.) . . . .

18 U.S.C. ' 3142(e)(3)(A).      Once the presumption is invoked, the

defendant need only produce "some evidence" to rebut it.              United

States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991); United States

v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).           "When a defendant

produces such evidence, however, the presumption does not disappear.

The burden of persuasion remains on the government and the rebutted

presumption retains evidentiary weight."        Dillon, 938 F.2d at 1416.




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                          Findings and Rulings

     In the instant case, the court finds probable cause to believe

that the offenses charged have been committed and that the defendant

has committed them.      Further, the offenses charged against the

defendant are ones for which a maximum term of imprisonment is ten

years or more, as prescribed in the Controlled Substances Act, 21

U.S.C. '' 801 et seq.   Thus, ' 3142(e)'s rebuttable presumption that

"no condition or combination of conditions will reasonably assure

[the defendant's] appearance . . . and the safety of the community"

is triggered in this case.     See 18 U.S.C. ' 3142(e), (f); 21 U.S.C.

' 841(b)(1)(C); see also United States v. Vargas, 804 F.2d 157, 162-63

(1st Cir. 1986).

     For the reasons stated on the record and summarized below, and

after considering the proffers of counsel and the factors set forth

in 18 U.S.C. ' 3142(g), the court finds that the government has met

its burden of persuading the court that the defendant's release, even

on strict conditions, presents both a risk of flight and danger to

the community.

     Specifically, the court considered the following factors:

           Weight of evidence.     The weight of the evidence in this

           case is overwhelming.         The evidence includes an

           undercover agent making direct, face-to-face, contact




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     with defendant during numerous drug transactions, and a

     full confession from defendant after his arrest.

     Nature of crime charged.         The nature of the crime,

     conspiring to sell controlled drugs, is serious and

     inherently dangerous.

     Circumstances of arrest.         After knocking at the door of

     defendant's residence and identifying themselves as

     police, defendant remained in the residence behind a

     home-made, plywood barricade that blocked police entry.

     The police had to break the barricade to get inside

     defendant's residence.        Once inside, the police found, at

     defendant's girlfriend's direction, 50 grams of cocaine

     hidden in the ceiling of defendant's residence.

     Ties to the community.        Defendant is a Dominican Republic

     national who has been a legal resident of the United States

     since 2004.    The defendant has resided at his current

     address, in Lowell, Massachusetts, for only six months.

     Defendant has ties to Syracuse, New York, where his brother

     resides and where defendant lived for two years.

     Defendant also has ties to Puerto Rico, where he lived for

     six years before moving to Syracuse.




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           Employment history.       Defendant has been unemployed for

           approximately two years.          Yet, he was able to purchase a

           new car in March 2010.

           Family ties.       Defendant has family ties in Lowell,

           Massachusetts (his mother and two younger brothers), but

           also has strong ties to his father, who resides in the

           Dominican Republic -- having been deported in January 2011

           for drug-related convictions.           The evidence showed that

           defendant speaks to his father once per week and traveled

           to the Dominican Republic as recently as January 2009.

           Incentive to flee.       If convicted, defendant faces a

           significant prison sentence (mandatory minimum of five

           years) and the likelihood of deportation.              The weight of

           the evidence and drastic consequences of a conviction

           coupled with defendant's ties to the Dominican Republic

           provide powerful incentives for him to flee.

     Thus, for all of these reasons, the court finds that the

government, aided by the presumption, has met its burden to prove

that no condition or combination of conditions will reasonably assure

the appearance of the defendant and the safety of the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.




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      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being held

in custody pending appeal.        The defendant shall be afforded a

reasonable opportunity for private consultation with defense

counsel.     On order of a court of the United States or on request of

an attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United States

Marshal for the purpose of appearing in connection with court

proceedings.

      SO ORDERED.

                                           _____________________________
                                           Landya B. McCafferty
                                           United States Magistrate Judge

Date:    May 10, 2011

cc:   Sven D. Wiberg, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




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